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15
                           IN THE UNITED STATES DISTRICT COURT
16
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
     UNITED STATES OF AMERICA,                    Case No. 3:20-CR-00249-RS
19
                     Plaintiff,                   DEFENDANT’S ADMITTED EXHIBITS
20
           v.
21
     ROWLAND MARCUS ANDRADE,
22
                     Defendant.
23

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     DEFENDANT’S ADMITTED EXHIBITS                                 CASE NO. 3:20-CR-00249-RS
